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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MINDY DIRIENZO,

       Plaintiff,
v.                                                           CASE NO.: 8:20-cv-01197

THE LAW OFFICE OF
PATRICK K. ELLIOTT, PLLC, and
PATRICK K. ELLIOTT, Individually,

      Defendants.
____________________________________/

    JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT AND
 DISMISSAL OF THIS MATTER AND INCORPORATED MEMORANDUM OF LAW

       Plaintiff, MINDY DIRIENZO (“Plaintiff”), and THE LAW OFFICE OF PATRICK K.

ELLIOTT, PLLC, and PATRICK ELLIOTT (“Defendants”) (collectively “the Parties”), by and

through their respective undersigned counsel, hereby notify the Court that the Parties have resolved

this matter and stipulate to the dismissal of all such claims in this action with prejudice subject to

this Court’s approval. As such, Plaintiff files this Joint Motion to Approve Settlement and Dismiss

with Prejudice and state as follows:

                      FACTUAL AND PROCEDURAL BACKGROUND

       1.      On or about May 26, 2020, Plaintiff filed a Complaint against Defendants for

violations of the Fair Labor Standards Act (“FLSA,” 29 U.S.C. §201, et seq.) in the United States

District Court for the Middle District of Florida. See Dkt. 1.

       2.      Plaintiff alleged that Defendants failed to pay her minimum wage and the proper

overtime premium in violation of the FLSA. Id.
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       3.      The parties exchanged documents and information regarding the Parties’ respective

claims and defenses.

       4.      Counsel for the parties first engaged in settlement discussions regarding Plaintiff’s

claim on or about May 2020, and the Parties engaged in substantive, arms’ length, and time-

consuming settlement negotiations from May 2020 through June 2020.

       5.      On or about June 2020, the Parties came to a preliminary settlement agreement

regarding Plaintiff’s claims.

       6.      After the Parties reached an agreement regarding the overtime pay that Defendants

allegedly owed Plaintiff, the Parties negotiated attorneys’ fees and costs.

       7.      For example, in addition to the damages and attorneys’ fees and costs requested

herein, the parties separately negotiated a limited waiver of certain claims and a confidentiality

provision in exchange for additional consideration.

       8.      Finally, the Parties continued to further negotiate particular terms of the agreement

until on or about June 19, 2020. See Dkt. 13.

       9.      The Parties have memorialized the settlement terms in the Settlement Agreement

and Release of Claims (“Settlement Agreement”), attached as Exhibit A.

                       TERMS OF THE SETTLEMENT AGREEMENT

       10.     The Parties have agreed to fully settle and satisfy Plaintiff’s claims, as set forth in

the Settlement Agreement.

       11.     In summary, this is an excellent recovery for Plaintiff. Plaintiff is receiving the full

amount of the purported wages earned and an equal amount in liquidated damages. As such,

Plaintiff’s claims were not compromised. The Parties’ exchanged documents, reviewed payroll




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records, and discussed the inherently uncertain legal and factual issues surrounding Plaintiff’s

proposed FLSA collective action.

       12.     Additionally, the agreement between the Parties to resolve Plaintiff’s underlying

FLSA claims were made without regard to the resolution or amount of Plaintiff’s attorneys’ fees

and costs.

       13.     Here, the Parties only discussed Plaintiff’s attorneys’ fees and costs after the Parties

agreed upon the substantive terms of the Settlement Agreement.

       14.     Pursuant to Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th

Cir. 1982), the Court must review the FLSA settlement to determine if it is a “fair and reasonable

resolution of a bona fide dispute.” Id. at 1354-44.

                                  MEMORANDUM OF LAW

       In agreeing upon their settlement reached herein, the Parties advise the Court that they

obtained sufficient information to allow them to make informed decisions after having had the

opportunity to analyze their respective claims and defenses. The Parties also respectfully submit

that the settlement reached among the Parties should be approved by this Court as fair and

reasonable. See 29 U.S.C. §216(c); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353

(11th Cir. 1982). Pursuant to Lynn’s Food, the Court’s review of the Parties’ Agreement is to

determine if it is “a fair and reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the

settlement reflects a reasonable compromise over issues that are actually in dispute, the Court may

approve the settlement “in order to promote the policy of encouraging settlement of litigation.” Id.

at 1354. Courts have routinely recognized a “strong presumption” in favor of finding a settlement

fair. See, e.g., Gruendner v. Douce France Bakery, Inc., 2012 WL 3140917, *1 (M.D. Fla. Jul. 6,

2012); Lalog v. Hilton Resorts Corp., 2011 WL 1659383, *1 (M.D. Fla. Apr. 4. 2012).




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       At all times material hereto, Plaintiff and Defendants were represented by counsel

experienced in litigating Plaintiff’s claims. Both the terms and conditions of the Parties’ settlement

agreement and the settlement amount were the subject of arms-length negotiations between

counsel. The settlement amount was based on information learned through the exchange of

information and mandatory disclosures, and through closer review of Plaintiff’s pay and time

records provided by Defendants. The Parties, therefore, respectfully submit that the agreement they

have entered into represents a reasonable resolution of Plaintiff’s claims consistent with the intent

and purpose of the FLSA and the requirements of Lynn’s Food. See, e.g., Fernandez v. A-1 Duran

Roofing, Inc., 2013 WL 684736, *2 (S.D. Fla. Feb. 25. 2013) (approving settlement where parties

were represented by counsel).

       The attorney’s fees and costs that the Parties agreed upon for Plaintiff’s counsel were

negotiated separately from the settlement sums paid to Plaintiff. See Bonetti v. Embarq Mgmt. Co.,

715 F. Supp. 2d 1222, 1228 (M.D. Fla. 2009) (stating, “if the parties submit a proposed FLSA

settlement that (1) constitutes a compromise of the plaintiff’s claims; (2) makes full and adequate

disclosure of the terms of settlement, including the factors and reasons considered in reaching same

and justifying the compromise of the plaintiff's claims; and (3) represents that the plaintiff’s

attorneys’ fee was agreed upon separately and without regard to the amount paid to the plaintiff,

then, unless the settlement does not appear reasonable on its face or there is reason to believe that

the plaintiff’s recovery was adversely affected by the amount of fees paid to her attorney, the Court

will approve the settlement without separately considering the reasonableness of the fee to be paid

to plaintiff’s counsel.”). Accordingly, the Court should approve the settlement as a fair resolution

of a bona fide dispute.




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       Finally, while some Courts within this District have questioned the propriety of limited

waiver and confidentiality provisions when evaluating the fairness and reasonableness of FLSA

settlements, Courts in this District have nevertheless approved such provisions when separate

consideration was given. See Vallaire v. American Precast, LLC et al., No. 8:18-cv-01635-

WFJAEP, Dkt. 17 (M.D. Fla. Sept. 21, 2018) (Jung, J.) (approving an FLSA settlement where the

release and confidentiality provisions were separately negotiated); Middleton v. Sonic Brands

L.L.C., Case No. 6:13-cv-386-Orl-28KRS, 2013 U.S. Dist. LEXIS 129039, 2013 WL 4854767, at

*3 (M.D. Fla. Sept. 10, 2013) (approving a settlement agreement providing $100 as separate

consideration for a general release); Bright v. Mental Health Res. Ctr., Inc., No. 3:10-cv-427-

J37TEM, 2012 U.S. Dist. LEXIS 33929, 2012 WL 868804, at *5 (M.D. Fla. Mar. 14, 2012)

(approving the settlement agreement as to one employee who signed a general release in exchange

for the employer foregoing its counterclaims against her).

       Here, the Agreement clearly states that consideration was given for the general release. In

exchange for the respective limited release and confidentiality provisions, Plaintiff will receive

additional monetary consideration. As mentioned above, Courts within this District approved these

conditions when the plaintiff is provided separate consideration. See Middleton, 2013 U.S. Dist.

LEXIS 129039, 2013 WL 4854767, at *3. Accordingly, the Parties respectfully submit that the

mere existence of the limited release and confidentiality provisions do not undermine the fairness

of the Plaintiff's FLSA Settlement Agreement.

                                          CONCLUSION

       Based upon the foregoing, the Parties respectfully submit that the settlement reached by the

Parties was in full satisfaction of Plaintiff’s claims and was a reasonable settlement that was arrived




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at after due consideration. Pursuant to Lynn’s Food, the Parties request that the Court approve the

Parties’ settlement as fair and reasonable and dismiss this case with prejudice.

       Dated this July 15, 2020.

Respectfully submitted,

FLORIN GRAY BOUZAS OWENS, LLC

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 15, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will automatically send e-mail notification of

such filing to all Parties on record.

                                           /s/ Miguel Bouzas____________
                                           MIGUEL BOUZAS, ESQUIRE




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